 Case: 1:05-cr-00537-JRA Doc #: 699 Filed: 01/10/07 1 of 1. PageID #: 2481




                     THE UNITED STATES DISTRICT COURT
                         NORTHER DISTRICT OF OHIO
                             EASTERN DIVISION


UNITED STATES OF AMERICA,                     )      CASE NO.: 1:05CR537
                                              )
       Plaintiff,                             )      JUDGE JOHN ADAMS
                                              )
v.                                            )       ORDER
                                              )
DWAYNE NABORS,                                )
                                              )
       Defendant.                             )


       This matter comes before the Court on Motion by Defendant Dwayne Nabors,

acting pro se, requesting that this Court require Plaintiff United States of America to

disclose to Defendant exculpatory evidence and for a preliminary hearing/new trial. The

Plaintiff filed a response to the motion. The Court has been advised, having reviewed the

motion, response and applicable law. It is hereby determined, for the reasons stated in

Plaintiff’s response, that Defendant’s motion is DENIED.



       So ordered.



                                                  ____s/ Judge John R. Adams_______
                                                  JUDGE JOHN R. ADAMS
                                                  UNITED STATES DISTRICT COURT
